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                              UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MASSACHUSETTS


 THOMAS YOUNG,
 individually and on behalf of all others
 similarly situated,

            Plaintiff,

 v.                                                                  Civ. A. No.

 LEAFFILTER NORTH OF
 MASSACHUSETTS, LLC & LEAFFILTER
 NORTH, LLC

            Defendants.


                         COLLECTIVE AND CLASS ACTION COMPLAINT

                                         INTRODUCTION

      1. This is an action for independent contractor misclassification and related wage and hour

claims brought by the plaintiff Thomas Young on behalf of himself and all others similarly

situated. Plaintiff worked for the Defendants as an installer, installing gutter protection systems

on homes throughout Massachusetts.

      2. The Plaintiff brings a collective action on behalf of all individuals who performed

installations in the United States for the Defendant LeafFilter North, LLC for violations of the

Fair Labor Standards Act (“FLSA”), 29 U.S.C. §§ 201, et seq., based on LeafFilter North, LLC’s

failure to pay overtime compensation.

      3. The Plaintiff also brings class claims on behalf of all individuals who performed

installations in Massachusetts for the Defendants for violations of the Massachusetts Independent

Contractor Statute, M.G.L. c. 149, § 148B, the Massachusetts Wage Act, M.G.L. c. 149, § 148,

and the Massachusetts Overtime Law, M.G.L. c. 151, § 1A.
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   4. On an individual basis, the Plaintiff brings claims against the Defendants for violations of

the Massachusetts Wage Act, M.G.L. c. 149, § 148 and the Massachusetts Minimum Wage Law,

M.G.L. c. 151, § 1.

   5. Plaintiff seeks to recover for himself, the Collective Class and the Massachusetts Class,

all damages sustained as a result of the Defendants’ misclassification of installers independent

contractors, including treble and/or liquidated damages, interest, costs and attorneys’ fees.

                                JURISDICTION AND VENUE

   6. This Court has general federal question jurisdiction pursuant to 28 U.S.C. § 1331,

because the Plaintiff has brought a claim pursuant to the federal Fair Labor Standards Act, 29

U.S.C. 201 et seq. The Court also has supplemental jurisdiction over the state law claims

pursuant to 28 U.S.C. §1367.

   7. Venue is proper in this Court because the events giving rise to this action took place

within the district where Defendants do business, maintain a corporate presence, and have

substantial contacts.

                                            PARTIES

   8. Plaintiff Thomas Young is an adult resident of Newton, Massachusetts. He began

working for the Defendants as an installer in or about September 2018. He worked for the

Defendants until approximately mid-December 2018.

   9. Defendant LeafFilter North of Massachusetts, LLC (“LeafFilter Massachusetts”) is an

Ohio limited liability company. It has an office located in Hopkinton, Massachusetts. It is the

successor-in-interest to LeafFilter North of Massachusetts, Inc. that previously operated in

Massachusetts.




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    10. Defendant LeafFilter North, LLC (“LeafFilter”) is an Ohio limited liability company. Its

headquarters is located in Hudson, Ohio, but it maintains offices and operates throughout the

United States, including in Massachusetts through Defendant LeafFilter North of Massachusetts,

LLC. It is the successor-in-interest to LeafFilter North, Inc. that previously operated throughout

the United States.

                  FACTUALCOLLECTIVE AND CLASS ALLEGATIONS

    11. According to its website, LeafFilter “is the largest gutter protection company in the

nation,” and that it “provide[s] the most effective debris-blocking gutter protection system on the

market . . . [f]rom coast to coast.”

    12. LeafFilter operates throughout the United States through LLCs like LeafFilter

Massachusetts.

    13. Upon information and belief, as of the date of this filing, in addition to LeafFilter

Massachusetts, LeafFilter operates throughout the United States through LeafFilter North of

Alabama, LLC, LeafFilter North of Connecticut, LLC, LeafFilter North of Florida, LLC,

LeafFilter North of Georgia, LLC, LeafFilter North of Illinois, LLC, LeafFilter North of Iowa,

LLC, LeafFilter North of Kentucky, LLC, LeafFilter North of Maryland, LLC, LeafFilter North

of Michigan, LLC, LeafFilter North of Minnesota, LLC, LeafFilter North of Missouri, LLC,

LeafFilter North of New Jersey, LLC, LeafFilter North of New York, LLC, LeafFilter North of

North Carolina, LLC, LeafFilter North of Oregon, LLC, LeafFilter North of Pennsylvania, LLC,

LeafFilter North of South Carolina, LLC, LeafFilter North of Tennessee, LLC, LeafFilter of

Texas, LLC, LeafFilter North of Virginia, LLC, LeafFilter North of Washington, LLC,

LeafFilter North of Wisconsin, LLC (collectively the “LeafFilter Entities”).




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    14. In reality, LeafFilter and the LeafFilter Entities are a single integrated enterprise

employer of their installers.

    15. The operations of LeafFilter and the LeafFilter Entities are substantially interrelated.

    16. LeafFilter’s website expressly states, “[u]nlike other gutter guard companies, we handle

every step of the process and operate on a national level from one corporate office.”

    17. When the Plaintiff interviewed for the installer position he was told that the “company is

headquartered in Ohio and has offices throughout the U.S.”

    18. LeafFilter’s website touts itself as “one of the Nation’s largest home improvement

companies and we are expanding all over North America building a leader in the remodeling

industry to 53 offices.”

    19. Upon information and belief, LeafFilter performs sales, marketing, and advertising tasks

for the LeafFilter Entities on a daily basis.

    20. Upon information and belief, LeafFilter employs a Digital Advertising team, including

paid search specialists who develop, manage and implement digital advertising and marketing

campaigns to obtain business on behalf of, and for all LeafFilter Entities.

    21. Upon information and belief, LeafFilter employs a Customer Relationship team who

resolve escalating customer service issues for all LeafFilter/LeafFilter Entities’ customers.

    22. Upon information and belief, LeafFilter has developed a software system that is used by

all LeafFilter Entities to among other things, generate customer invoices and track the services

performed by the misclassified installers.

    23. Upon information and belief, LeafFilter receives revenues from LeafFilter Entities’

transactions.




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   24. Upon information and belief, LeafFilter establishes the prices that LeafFilter Entities’

charges customers.

   25. LeafFilter and the LeafFilter Entities have common management and LeafFilter has

centralized control of the LeafFilter Entities’ labor relations.

   26. Upon information and belief, LeafFilter controls the payroll for all LeafFilter Entities.

   27. When the Plaintiff was hired, he was instructed to complete a form so that he could be

paid via direct deposit and was instructed to submit the form to either invoices@leaffilter.com or

by mailing the form to LeafFilter’s corporate headquarters in Ohio.

   28. Upon information and belief, all installers are required to complete and submit the same

or substantially similar paperwork.

   29. Upon information and belief, the email address invoices@leaffilter.com is an email

address utilized and administered by LeafFilter and not any of the LeafFilter Entities.

   30. Upon information and belief, the LeafFilter Entities are managed by individuals who

report to employees of LeafFilter, who in turn dictate nearly every aspect of the LeafFilter

Entities’ business, including but not limited to uniform policies and procedures, uniform

documents, and uniform prerequisites that installers are required to meet in order to work for any

of the LeafFilter Entities. These uniform policies, procedures, documents and prerequisites cause

LeafFilter to manage nearly every aspect of the LeafFilter Entities’ day-to-day business

operations.

   31. Upon information and belief, none of the LeafFilter Entities have their own website

independent of LeafFilter. Indeed, information about the LeafFilter Entities are contained within

LeafFilter’s website.

   32. LealFilter’s website also refers to all of the LeafFilter Entities as “our locations”.



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    33. LeafFilter and the LeafFilter Entities routinely publish job advertisements on Craigslist.

These job advertisements routinely refer to LeafFilter and/or LeafFilter North as the company for

whom the installer will work. They rarely, if ever, mention any of the LeafFilter Entities.

    34. LeafFilter also publishes job advertisements for the LeafFilter Entities on the LeafFilter

website.

    35. These job advertisements are materially identical in all aspects, they make no mention of

the LeafFilter Entities, and refer to LeafFilter and/or LeafFilter North as the company for whom

the installer will work.

    36. Upon information and belief LeafFilter and the LeafFilter Entities have common

ownership.

    37. Matt Kaulig (“Kaulig”) in the founder, owner and CEO of LeafFilter.

    38. According to Kaulig’s LinkedIn profile, LeafFilter “currently operates out of 38 locations

throughout the U.S. and Canada.”

    39. Upon information and belief, Kaulig is the owner and manager of all the LeafFilter

Entities.

    40. Upon information and belief, prior to being converted to LLCs, all the LeafFilter Entities

were Corporations and Kaulig was the President of every such entity.

    41. Upon information and belief, all LeafFilter Entities were converted from Corporations to

LLCs on the same day; September 22, 2016.

    42. The Plaintiff and Collective Class were/are employees of LeafFilter under the FLSA.

    43. The Defendants exercise[d] substantial control over the Plaintiff, Collective Class, and

Massachusetts Class.




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   44. The Defendants set[s] the Plaintiff ‘s, Collective Class’ and Massachusetts Class’ daily

work schedule and assign every job that the installers perform.

   45. The Plaintiff, Collective class, and Massachusetts Class are required to complete

mandatory paperwork and submit it to the Defendants.

   46. The Plaintiff, Collective Class, and Massachusetts Class are not permitted to negotiate the

price of the Defendants’ services without permission from the Defendants.

   47. The Plaintiff, Collective Class, and Massachusetts Class are not permitted to collect

payment for services in their own names. All customer payments are required to be made to

LeafFilter.

   48. The Plaintiff, Collective Class, and Massachusetts Class are not permitted to offer gutter

filter installation services on their own behalf independent of the Defenddants.

   49. The Plaintiff, Collective class, and Massachusetts Class are required to check in

throughout the day with their manager to report on the status of each installation.

   50. The Plaintiff and Collective Class, and Massachusetts Class had/have no significant

opportunity for profit or loss.

   51. Upon information and belief, every installer is given the same compensation structure by

the Defendants and are not permitted to negotiate the compensation structure with the

Defendants.

   52. The Plaintiff, Collective Class, and Massachusetts Class do not make a significant capital

investment to work for the Defendants.

   53. The Defendants provide[d] all materials needed for the installation, including but not

limited to filters, screws, caulking, gutter down spouts, corner pieces and end caps, and brackets,




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and the Plaintiff, Collective Class, and Massachusetts Class are required to provide tools and a

ladder.

   54. Every installer job advertisement on LeafFilter’s website states, “We provide all

materials!”

   55. Without the materials provided by the Defendants, the Plaintiff, Collective Class, and

Massachusetts Class could not perform any of the installation work.

   56. The Defendants also provide[d] the Plaintiff, Collective Class, and Massachusetts Class

with a gas allowance.

   57. Little to no skill is required to become an installer for the Defendants.

   58. Every installer job advertisement on LeafFilter’s website states, “[y]ou don’t need

experience with gutter protection to join our team . . . .”

   59. In practice, employees of the Defendants provide training for all installers.

   60. The Plaintiff, Collective Class, and Massachusetts Class work for the Defendants for an

indefinite, undefined duration.

   61. The Plaintiff, Collective Class, and Massachusetts Class routinely work over 40 hours per

work week.

   62. The Plaintiff himself regularly worked over 70 hours per week, as he typically worked 6

days per week from approximately 7:00 a.m. to 8:00 p.m.

   63. The Plaintiff, Collective Class, and Massachusetts Class are also integral to the

Defendants’ business.

   64. Without the Plaintiff, Collective Class, and Massachusetts Class, the Defendants’

business could not function.




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    65. LeafFilter’s website contains a link titled “Process” that explains the process of what

every customer can expect who purchases a LeafFilter system. According to the website,

installation is the third step in a four-part process.

    66. LeafFilter’s website states that “[o]nce LeafFilter is installed to your existing gutters, our

proven and tested solution ensures nothing will enter your gutters except for water –

guaranteed.”

    67. LeafFilter’s website further states, “[f]rom marketing to sales, installation, and service,

we have the best team, right along with the best product.”

    68. The service (i.e. installation) that the Plaintiff, Collective Class, and Massachusetts Class

perform is not outside the usual course of business of the Defendants.

    69. The Defendants hire “Field Installation Trainers” as employees who train, coach and

develop installers on a daily a basis, both in the classroom and in the field.

    70. The Defendants’ Field Installation Trainers ensure jobs are installed on a daily basis and

are responsible for driving proficiency among installers.

    71. The Defendants’ Field Installation Trainers go into the field and fix any problems that

arise after an installer completes the initial installation.

    72. The Defendants’ Field Installation Trainers work with Installation Mangers (who are also

employees of the Defendants) on individual performance, abilities and capacities of installers.

    73. Defendants’ decision to shift certain operating costs on the Plaintiff and Massachusetts

Class, including but not limited to the Defendants’ requirement that installers pay for their own

workers’ compensation and general liability insurance violates Massachusetts law.




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   74. Defendants also take unlawful deductions under Massachusetts law from the Plaintiff and

Massachusetts Class’ compensation, including but not limited to deduction for lost or stolen

product without an independent adjudication that the installer is at fault.

                          INDIVIDUAL FACTUAL ALLEGATIONS

   75. For every installation the Plaintiff performed he was given a document showing the

“Labor Total” and “Gas Allowance” that he would be paid.

   76. The Defendants have failed to pay the Plaintiff all “Labor Totals” and “Gas Allowances”

that the Defendants represented they would pay him.

   77. In addition to the unpaid overtime compensation as detailed above, the Defendants failed

to pay the Plaintiff at least the minimum wage for the first 40 hours he worked during each pay

period that he was employed by the Defendants.

                          COLLECTIVE ACTION ALLEGATIONS

   78. Pursuant to 29 U.S.C. § 216(b), Plaintiff brings unpaid overtime claims due under the

FLSA on behalf of all similarly situated individuals who may choose to “opt-in” to this action.

   79. The claim meets the requirements for collective action certification under the FLSA.

   80. All potential opt-in plaintiffs are similarly situated, as LeafFilters’ policy and practice of

classifying all installers as independent contractors and not paying them overtime compensation

was applicable to all installers throughout the United States and resulted in a violation of the

FLSA.

                               CLASS ACTION ALLEGATIONS

   81. Pursuant to M.G.L. c. 149, § 150, M.G.L. c. 151, § 1B, and Fed. R. Civ. P. 23, Plaintiff

brings this action on behalf of himself and all other similarly situated Massachusetts-based

installers who have worked for the Defendants.



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   82. Joinder is impracticable due to the size and composition of the class, and the nature of the

claims and relief sought, the remedial purpose of the underlying claims, and because individual

joinder would be inefficient, uneconomical, and could result in the deprivation of wage rights to

aggrieved employees.

   83. There are issues of law and fact common to all class members, including whether the

Defendants misclassified the Plaintiff and class as independent contractors. This common

question predominates over any questions affecting individual class members.

   84. The Plaintiff’s claims are typical of the claims of all members of the class, because all

members of the class were subject to the same unlawful practices and suffered similar harms.

   85. Plaintiff will fairly and adequately represent the interests of the class because he does not

have a conflict of interest with the class members. Plaintiff’s counsel will fairly and adequately

represent the class members’ interests because they have substantial experience in this field.

   86. A class action is superior in this case for several reasons, including but not limited to the

following: this case challenges the Defendants’ uniform employment classification and payment

practices; many workers may be reluctant to bring claims individually for fear of retaliation;

some class members may not have the resources to bring their claims individually; and it would

be an inefficient use of scare judicial resources to require each individual affected by the

practices challenged herein to bring his or her own individual claims.

                                     CAUSES OF ACTION

                                  COUNT I (Collective Action)
                           Violation of the Fair Labor Standards Act

   87. LeafFilters’ knowing and willful failure to properly pay time-and-a-half for hours worked

more than forty (40) in a workweek to the Plaintiff and Collective Class based on their




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misclassification as “independent contractors” violates the Fair Labor Standards Act, 29 U.S.C. §

201 et seq.

                                  COUNT II (Class Claim)
                            Misclassification, M.G.L. c. 149,§ 148B

   88. Defendants have misclassified the Plaintiff and Massachusetts Class as independent

contractors in violation of M.G.L. c 149, § 148B. For this violation, Plaintiff and the

Massachusetts Class are entitled to recover the wages and benefits they would have received as

employees, including reimbursement for any business-related expenses they were required to

bear as a result of their misclassification as independent contractors. This claim is brought

pursuant to M.G.L. c. 149, § 150.

                                COUNT III (Class Claim)
                      Massachusetts Overtime Law, M.G.L. c. 151, § 1A

   89. Defendants’ failure to properly pay time-and-a-half for hours worked more than forty

(40) in a workweek to the Plaintiff and Massachusetts Class based on their misclassification as

“independent contractors” violates the Massachusetts Overtime Law, M.G.L. c. 151, § 1A

                       COUNT IV (Class Claim and Individual Claim)
                        Massachusetts Wage Act, M.G.L. c. 149, § 148

   90. Defendants’ failure to properly pay the Plaintiff and Massachusetts Class all wages and

benefits that they would have received had Defendants properly classified them as employees

violates the Massachusetts Wage Act, M.G.L. c. 149, § 148.

                              COUNT V (Individual Claim)
                    Massachusetts Minimum Wage Act, M.G.L. c. 151, § 1

   91. Defendants’ failure to properly pay the Plaintiff the minimum wage for all hours worked

that he would have received had Defendants properly classified him as an employees violates the

Massachusetts Minimum Wage Act, M.G.L. c. 151, § 1



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                                                JURY DEMAND

         The Plaintiff requests a trial by jury on all claims.



    WHEREFORE, the plaintiff seeks judgment against the Defendants as follows:

    1. An order conditionally certifying a class of similarly situated individuals under the FLSA

and directing the issuance of notice informing affected individuals of their right to opt-in to this

action. With respect to the claim under the FLSA, Plaintiff seeks certification of a collective

class that includes all persons who performed installations for LeafFilter during the relevant

limitations period.

    2. A finding that LeafFilters’ violations under the FLSA were willful and knowing, and

therefore subject to a three-year statute of limitations.1

    3. With respect to the class claims under Massachusetts law, certification of this case as a

class action, or recognition that this case is properly brought on behalf of all similarly situated

employees, pursuant to Fed. R. Civ. P. 23, M.G.L. c. 149, § 150, and M.G.L. c. 151, § 20. With

respect to all claims under Massachusetts law, Plaintiff seeks certification of a class that includes

all persons who performed installations in Massachusetts during the relevant limitations period.2

    4. All damages to which Plaintiff, Massachusetts Class and Collective Class is entitled

pursuant to Massachusetts or federal law.

    5. Liquidated damages, pursuant to federal law.

    6. Statutory trebling of damages, pursuant to Massachusetts law.




1
 The three-year statute of limitations is intended to include all installers who worked for the Defendants, including
Defendants’ predecessors-in-interest before their conversion to LLCs.
2
 The relevant limitations period is intended to include all installers who worked for the Defendants, including
Defendants’ predecessors-in-interest before their conversion to LLCs.

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   7. Attorneys’ fees, costs, and interest as allowed by law.

   8. Such other relief as the Court may deem proper and just.




Plaintiff,
Thomas Young, individually & on behalf of
all others similarly situated

By his attorney,

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